Case: 1:18-Cv-01688 Document #: 1 Filed: 03/07/18 Page 1 of 9 Page|D #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DIS'I`RICT OF ILLINOIS
EASTERN DIVISION

LABORERS’ PENSION FUND, LABORERS’ )
WELFARE FUND OF THE HEALTH AND )
WELFARE DEPARTMENT OF THE )
CONSTRUCTION AND GENERAL )
LAB()RERS’ DISTRIC'I` C()UNCIL OF )
CHICAGO AND VICINITY, 'I`HE CHICAGO )
LABORERS’ DISTRICT COUNCIL RETIREE )
HEALTH AND WELFARE FUND and )
CATHERINE WENSKUS, not individually, )
but as A(Iministrator of the Funds, )
Plaintiffs, )

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V.

K-COM TRANSPOR'I` SERVICES, INC., Case No.: 18 C 1688

an Indiana corporation,
Judge
Defendant.
COMPLAINT

Plaintiffs, Laborers’ Pension Fund, Laborers’ Welfare Fund of the Health and Weifare
Departrnent of the Construction and General Labox‘efs’ District Council of Chicago and Vicinity,
the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine
Wenskus, not individualiy, but as Administrator of the Funds (hereinaf’cer coilectively the
“Funds”), by their attorneys, Patrick 'l`. Wallace, Jerrod Olszewski, Amy N. Carollo, G. Ryan

Liska, Katherine C. V. Mosenson, and Kelly Carson Burtzlaff, for their Complaint against

Defendant K-Com Transport Services, Inc., an lndiana corporation, State:

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 2 of 9 Page|D #:2

COUN’I` I
(Failure to Submit Reports and/or Pay Employee Benefit Contributions)

i. Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Elnployee
Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(l) and
(2) and 1145, Section 301(a) of the Labor Management Relations Act (“LMRA”) of 1947 as
amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, and federal common law.

2. Venue is proper pursuant to Seetion 502(e)(2) of ERISA, 29 U.S.C. §1132(@)(2),
and 28 U.S.C. §1391 (a) and (b).

3. The Funds are multiemployer Trusts established pursuant to Section 302(0)(5) of
the LMRA, 29 U.S.C. §186(0)(5). The Funds maintain their respective Plans, which are
multiemployer benefit plans within the meanings of Sections 3(3) and 3(37) of ERISA, 29
U.S.C. §1002(3) and 37(A), pursuant to their respective Agreements and Declarations of Trust in
accordance With Section 302(c)(5) of the LMRA. The Funds have offices and conduct business
Within this District.

4. Plaintiff Catherine Wenskus is the Administrator of the Funds, and has been duly
authorized by the Funds’ Trllstees to act on behalf of the Funds in the collection of employer
contributions owed to the Funds and to the Construction and General District Council of Chicago
and Vicinity Training Fund, and With respect to the collection by the Funds of amounts which
have been or are required to be withheld from the wages of employees in payment of union dues
for transmittal to the Construction and General Laborers’ District Council of Cliicago and
Vicinity (the “Union”). With respect to such inatters, Wenskus is a fiduciary of the Funds Within

the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A).

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 3 of 9 Page|D #:3

5. Defendant K-Corn Transport Services, Inc., (liereinafter the “Company” or “K~
Com”), is an Indiana corporationl At all times relevant herein, the Company did business Within
this District and was an employer within the meaning of Section 3(5) of ERISA, 29 U.S.C.
§1002(5), and Section 301(a) ofthe LMRA, 29 U.S.C. §185(0).

6. The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The
Union and the Company are parties to a collective bargaining agreement, the most recent of
which became effective Iune 1, 2017 (“Agreement”). At all times relevant herein, the
Company’s employees performed work covered by the same Agreeinent. (A copy of the “short
form” Agreement entered into between the Union and the Cornpany which Agreernent adopts
and incorporates a Master Agreement between the Union and various employer associations, and
also binds the Company to the Funds’ respective Agreements and Declarations of Trust and the
Agreements and Declarations of Trusts of the various Funds listed in Paragraph 7 below, is
attached hereto as Exhibit A.)

7. The Funds have been duly authorized by the Construction and General Laborers’
District Council of Chicago and Vicinity 'l`raining Trust Fund (the “Training Fund”), the
Concrete Contractors’ Association of Greater Chicago (“CCA”), the Chicago Area lndependent
Contractors Association (“CAICA”), the Builders’ Association of Greater Chicago (“BAC”), the
Ceiling and Drywall Association (“CDCA”), the Midwest Construction Industry Advancement
Fund (“MCIAF”), the Chieagoland Construction Safety Council (the “Safety Fund”), the
Laborers’ Einployers’ Cooperation and Education Trust (“LECET”), the Illinois Road Builders
Assoeiation (“IRBA”), the CDCNI/CAWCC Contractors’ Industry Advancement Fund (the
“Wall & Ceiling Fund”), the CISCO Uniform Drug/Alcohol Abuse Program (“CISCO"), the
Laborers’ District Council Labor Managernent Committee Cooperative (“LDCLMCC”), and the

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Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 4 of 9 Page|D #:4

illinois Small Pavers Association (“ISPA”) to act as an agent in the collection of contributions
due to those funds.

8. The Agreeinent, the Funds’ respective Agreements and Declarations of Trust, and
the Ti'aining Fund Agreement and Declaration of Trust, obligate the Company to make
contributions on behalf of its employees covered by the Agreement for pension benefits, health
and welfare benefits, retiree health and welfare bcnefits, and for the training fund and to submit
monthly remittance reports in which the Company, inter cdia, identifies the employees covered
under the Agreement and the amount of contributions to be remitted to the Funds on behalf of
each covered employee Pursuant to the terms of the Agreement and the Funds’ respective
Agreements and Declarations of Trust, and the Training Fund Agreement and Declaration of
Trust, contributions which are not submitted in a timely fashion are assessed liquidated damages
plus interest

9. The Agreement and the Funds’ respective Agreements and Declarations of Trust
require the Company to submit its books and records to the Funds on demand for an audit to
determine benefit contribution compliance

10. Notwitlistanding the obligations imposed by the Agreement and the Funds’
respective Agreements and Declarations of Trust, the Company has:

a. failed to submit reports and/or pay all contributions to Plaintiff Laborei's’

Pension Fund for the period of December 2017 forward, thereby depriving the Laborers’

Pension Fund of contributions, income, and information needed to administer the Fund

and jeopardizing the pension benefits of the participants and beneficiaries;

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 5 of 9 Page|D #:5

b. failed to submit reports and/or pay all contributions to Plaintiff Laborers’
Welfare Fund of the Health and Welfare-Department of the Constiuction and General
Laborers’ District Cotincil of Chicago and Vicinity for the period of December 2017
forward, thereby depriving the Welfare Fund of contributions, income, and information
needed to administer the Fund and jeopardizing the health and welfare benefits of the
participants and beneficiaries; -

c. failed to submit reports and/or pay all contributions to Plaintiff Chicago
l,,aborers’ District Council Retiree Health and Welfare Fund for the period of December
2017 forward, thereby depriving the Retiree Welfare Fund of contributions, incoinc, and
information needed to administer the Fund and jeopardizing the health and welfare
benefits of the participants and beneficiaries;

d. failed to submit reports and/or pay all contributions to the Laborers’
Training Fund for the period of Deccmber 2017 foiward, thereby depriving the Laborers’
Training Fund of contributions, inconie, and information needed to administer the Fuiid
and jeopardizing the training fund benefits of the participants and beneficiaries; and

e. failed to submit reports and/or pay all contributions owed to one or more
of the other affiliated funds identified in Pai'agraph 8 above for the period of Deceniber
2017 forward, thereby depriving said fund(s) of contributions, income, and information
needed to administer said fund(s) and jeopardizing the benefits of the participants and
beneficiaries
12. The Company’s actions in failing to submit timely reports and contributions

violate Section 5l5 ofERlSA, 29 U.S.C. §1145, and Section 30l ofthe LMRA, 29 U.S.C. §185.

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 6 of 9 Page|D #:6

13. Pursuant to Section 502(g)(2) ofERlSA, 29 U.S.C. §1132 (g)(2), Section 301 of
the LMRA, 29 U.S.C. §185, the terms of the Agreement and the Funds’ respective Trust
Agreeinents, and federal common law, the Company is liable to the Funds for unpaid
contributions, as well as interest and liquidated damages on the unpaid eontributions,
accumulated liquidated damages, reasonable attorneys’ fees and costs, and such other legal and
equitable relief as the Couit deems appropriate

WHEREFORE, Plaintiffs respectfully request this Court enter a judgment against
Defendant K-Corn Transport Services, lnc.:

a. ordering K-Com to submit benefit reports and/or contributions for the time
period ofDecember 2017 forward;

b. entering judgment in sum certain against K-Com on the amounts reported
due and owing pursuant to the December 2017 forward benefits reports, in addition to
interest, liquidated damages, accumulated liquidated damages, and attorneys’ fees and
costs;

c. ordering K-Com to submit its books and records to a fringe benefit
contribution compliance audit on demand; and

d. awarding Plaintiffs any further legal and equitable relief as the Coui't

deems just and appropriate

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 7 of 9 Page|D #:7

COUNT II
(Failure to Submit Reports and/or Pay Unioii Dues)

14. Plaintiffs realiege paragraphs l through 12 of Count l as though fully set forth
herein.

15. Pursuant to agreement, the Funds have been duly designated to serve as collection
agents for the Union in that the Funds have been given the authority to collect from employers
union dues which have been or should have been deducted from the wages of covered
employees Union dues which are not submitted in a timely fashion are assessed ten percent
liquidated damages

16. Notwithstanding the obligations imposed by the Agreement, the Coinpany has
failed to submit Union dues reports and dues that were or should have been withheld from the
wages of its employees performing covered work for the period ofDecember 2017 forward,
thereby depriving the Union of income and information necessary to determine dues submission
compliance

17 . Pursuant to the Agreement and federal common law, the Company is iiable to the
Funds for the unpaid Union dues, as well as liquidated damages, accumulated liquidated
damages, reasonable attorneys’ fees and costs as the Union’s collection agent, and such other
legal and equitable relief as the Court deems appropriate

WHEREFORE, Plaintiffs respectfully request this Couit enter a judgment against K-Com
Transport Services, lnc.:

a. ordering K-Com to submit dues reports and/or contributions for the time

period of December 2017 forward;

 

Case: 1:18-cv-01688 Document #: 1 Filed: 03/07/18 Page 8 of 9 Page|D #:8

b, entering judgment in sum certain against K-Com on the amounts due and
owing pursuant to the Deceinber 2017 forward dues reports, in addition to liquidated
damages, accumulated liquidated damages, and attorneys’ fees and costs; and

c. awarding Plaintiffs any further legal and equitable relief as the Coui't

deems appropriate

March 7, 2018 4 Laborers’ Pension Fund, et al.

BY=JMMQM
Laborers’ Peiision and Welfare Funds
Office of Fund Counsel
ll l West lackson Boulevard
Suite 1415
Chicago, lllinois 60604
(312) 692-1540

 

Cas`é:"iiis-`cv-o`i'ea`s'-Docum"e.nr"'#:"‘1'l=lle'cl: 03/07/13 Page 9 or 9 Pagelo #:9
`CoNsTRucTioN a cENERAL iAsoRERs'
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AFFILIATED WlTH THE LABORERS' |NYERNATIONAL UN|ON OF NORTH AMERlCA
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iNDEPENDENT CONSTRUCT|ON |NDUSTRY COLLEC`FiVE BARGA|N|NG AGREEMENT

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this Agreemani null respect lo moes. hours and other terms and oord’ltions of employment This recognition is based on too Union's badog sham or barring oilerell to sho.v.
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and it waives any eight lt may hara lo terminate this agreeith based upon the number of persons displayed

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ct construction alteration pointing o~' repa’¢ of a bu'ldirro, structure or oer mck to any person corporation oleni.ity not signatory lo and colored by a collective bargeser agree-
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